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                  EXHIBIT J
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                                               DEFENDANT'S EXHIBIT
                                                   NO. 727.001
                                                  United States District Court
                                                 Northern District of California
                                                 No. 11-CV-01846-LHK (PSG)
                                                       Apple v. Samsung
                                               Date Admitted:___________By:___________
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